AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District
                                                 __________         of of
                                                             District  Tennessee
                                                                          __________

     TRAVIS BELLEW, on behalf of himself and all                  )
              others similary situated                            )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                         Civil Action No. 2:19-cv-191
                                                                  )
      SULLIVAN COUNTY, TENNESSEE, ET AL                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) John and Jane Does, employees of Sullivan County Sheriff's Department
                                       Sullivan County Jail
                                       140 Blountville Bypass
                                       Blountville, TN 37617




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Collins Shipley, PLLC              Thomas C. Jessee         The Baker Law Firm
                                       128 S. Main Street, Suite 102      Jessee & Jessee          Lance K. Baker
                                       Greeenville, TN 37743              P.O. Box 997             550 W. Main St., Suite 600
                                       423-972-4388                       Johnson City, TN 37605   Knoxville, TN 37902
                                                                          423-928-7175             865-200-4117


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:     10/29/2019
                                                                                        Signature of Clerk or Deputy Clerk




     Case 2:19-cv-00191-TAV-CRW Document 2-4 Filed 10/29/19 Page 1 of 2 PageID #: 62
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




       Case 2:19-cv-00191-TAV-CRW Document 2-4 Filed 10/29/19 Page 2 of 2 PageID #: 63
